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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

SHELBY COUNTY HEALTH CARE
CORPORATION d/b/a REGIONAL MEDICAL
CENTER,

       Plaintiff,

v.                                                             No. 07-2498 B

UNITED HEALTHCARE INSURANCE
COMPANY,

      Defendant.
_____________________________________________________________________________

        ORDER GRANTING DEFENDANT'S MOTION TO TRANSFER VENUE
_____________________________________________________________________________

       Before the Court is the motion of the Defendant, United Healthcare Insurance Company

("United"), to transfer venue of this matter to the United States District Court for the Middle District

of Tennessee, pursuant to 28 U.S.C. § 1404 or, in the alternative, for a stay of these proceedings

under 9 U.S.C. § 3. According to the parties' submissions, United and the Plaintiff, Shelby County

Health Care Corporation d/b/a Regional Medical Center (the "Med"), entered into a Facility

Participation Agreement (the "Agreement") in August 1, 2005. Article VII of the Agreement

required the parties to submit "any and all disputes between them" to binding arbitration in

accordance with the Commercial Dispute Procedures of the American Arbitration Association. The

Agreement provided that "[a]ny arbitration proceeding under this Agreement shall be conducted in

Davidson County, Tennessee," which falls within the Middle District of Tennessee.

       On June 22, 2007, the Med instituted an action against United in the Circuit Court of

Tennessee for the Thirtieth Judicial District of Memphis, alleging that United owed reimbursement

to the Med pursuant to the Agreement for the cost of medical goods and services rendered to Ronnie
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Eddins, the covered spouse of a participant in a fully insured employee welfare benefit plan

sponsored by her employer. United removed the action to this Court, asserting federal question

jurisdiction pursuant to the Employee Retirement Income Security Act of 1974, 29 U.S.C. 1132

("ERISA").

        Title 28 U.S.C. § 1404 provides that "[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division where

it might have been brought." 28 U.S.C. § 1404(a).

        Congress intended to give district courts the discretion to transfer cases on an
        individual basis by considering convenience and fairness. The district court must
        weigh a number of case-specific factors such as the convenience of the parties and
        witnesses, public-interest factors of systemic integrity, and private concerns falling
        under the heading "the interest of justice."

Kerobo v. Sw. Clean Fuels, Corp., 285 F.3d 531, 537-38 (6th Cir. 2002) (internal citations and

quotation marks omitted).

        Neither party directly addresses any of the factors enumerated above. Rather, in support of

its motion, United points to the forum selection clause, which is also a factor that may be considered

by the Court in the § 1404(a) calculus. "Such a clause should receive neither dispositive

consideration nor no consideration but rather the consideration for which Congress provided in §

1404(a)." Id. (internal quotation marks omitted). While the movant on a § 1404(a) transfer motion

generally bears the burden of establishing that transfer is proper (see Moeckel v. Caremark RX Inc.,

385 F. Supp. 2d 668, 686 (M.D. Tenn. 2005)), "where the parties have contractually chosen an

appropriate venue, the plaintiff bears the burden of showing why the parties should not be bound

by their contractual choice of forum." Josko v. New World Sys. Corp., No. 05-4013 (RBK), 2006

WL 2524169, at *13 (D.N.J. Aug. 29, 2006) (citing Jumara v. State Farm Ins. Co., 55 F.3d 873, 880


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(3d Cir. 1995)); see also Tieman v. Victaulic Co., No. 06-CV-1036, 2007 WL 397054, at *3 (S.D.

Ohio Jan. 31, 2007) (citing Jumara).

       The Plaintiff in response submits that venue is proper under ERISA's venue statute, which

provides that "[w]here an action under [ERISA] is brought in a district court of the United States,

it may be brought in the district where the plan is administered, where the breach took place, or

where a defendant resides or may be found . . ." 29 U.S.C. § 1132(e)(2). In its reply, United

maintains that, by its terms, ERISA's venue statute applies only to lawsuits brought in district court

and not to those that have been removed from state court, as is the case here. Indeed, courts have

so found. See Heft v. AAI Corp., 355 F. Supp. 2d 757, 772 (M.D. Pa. 2005) (ERISA venue statute

"pertain[s] only to cases commenced originally in the federal courts. They are inapplicable to the

question of proper venue in a case properly commenced in a state court and later removed to the

federal system . . ."); Ward v. Maloney, No. 1:02CV00467, 2003 WL 1562424, at *2-3 (M.D. N.C.

Mar. 21, 2003) (ERISA venue statute does not determine venue in removed ERISA actions); see also

Kerobo, 285 F.3d at 534 ("Venue in removed cases is governed solely by [28 U.S.C.] § 1441(a)").

Therefore, the Med's contention is without merit.

       The Plaintiff further insists that the Agreement is ancillary to its ERISA claims, an argument

that fares no better. The Agreement clearly provides that "any and all disputes" between the parties

are to be resolved by binding arbitration to be conducted in the Middle District of Tennessee, and

the Med has failed to convince the Court that it should not be bound by the chosen forum. Even if

the Med's position that the Agreement is ancillary to its other claims is valid, that is something best

determined in the appropriate forum.

       Moreover, the Sixth Circuit has followed the majority of courts in holding that "where the


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parties have agreed to arbitrate in a particular forum, only a district court in that forum has

jurisdiction to compel arbitration pursuant to" 9 U.S.C. § 4, Federal Arbitration Act.1 Mgmt.

Recruiters Int'l, Inc. v. Bloor, 129 F.3d 851, 854 (6th Cir. 1997); see also Inland Bulk Transfer Co.

v. Cummins Engine Co., 332 F.3d 1007, 1018 (6th Cir. 2003) ("the Federal Arbitration Act prevents

federal courts from compelling arbitration outside of their own district"); Gone to the Beach, LLC

v. Choicepoint Servs., Inc., 434 F. Supp. 2d 534, 537 (W.D. Tenn. 2006) (same). Accordingly, only

a district court in the Middle District of Tennessee would have jurisdiction to compel arbitration in

this matter.

       Based on the foregoing reasons that militate in favor of transfer, the Court hereby GRANTS

the Defendant's motion therefor. As a consequence, the alternative request for a stay is moot. The

Clerk of Court is DIRECTED to transfer this matter to the United States District Court for the

Middle District of Tennessee.

       IT IS SO ORDERED this 18th day of March, 2008.

                                               s/ J. DANIEL BREEN
                                               UNITED STATES DISTRICT JUDGE




       1
        The statute provides in pertinent part that

       [a] party aggrieved by the alleged failure, neglect, or refusal of another to
       arbitrate under a written agreement for arbitration may petition any United States
       district court which, save for such agreement, would have jurisdiction under Title
       28, in a civil action or in admiralty of the subject matter of a suit arising out of the
       controversy between the parties, for an order directing that such arbitration
       proceed in the manner provided for in such agreement.

9 U.S.C. § 4.

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